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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

  v.                                              Criminal Action No. 1:14-cr-89-13

  KEYARA PETERS,
        Defendant.

                       OPINION/REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY IN FELONY CASE

         This matter has been referred to the undersigned Magistrate Judge by the District Court for

  purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

  Keyara Peters, in person and by counsel, Charles Berry, appeared before me on April 15, 2015. The

  Government appeared by Zelda Wesley, its Assistant United States Attorney. The Court determined

  that Defendant was prepared to enter a plea of “Guilty” to Count Eleven of the Indictment.

         The Court proceeded with the Rule 11 hearing by first placing Defendant under oath.

         The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

  asked the Government to tender the original to the Court. The Court asked counsel for the

  Government if the agreement was the sole agreement offered to Defendant. The Government

  responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for

  the Government to summarize the written plea agreement. Defendant stated that the agreement as

  summarized by counsel for the Government was correct and complied with her understanding of the

  agreement. The Court ORDERED the written plea agreement filed.

         The Court inquired of Defendant whether she was a citizen of the United States. Defendant

  responded that she is a citizen. The undersigned asked Defendant whether she understood that if she

  were not a citizen of the United States, by pleading guilty to a felony charge she would be subject

  to deportation at the conclusion of any sentence; that she would be denied future entry into the United
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  States; and that she would be denied citizenship if she ever applied for it. Defendant stated that she

  understood.

         The Court inquired of Defendant concerning her understanding of her right to have an Article

  III Judge hear the entry of her guilty plea and her understanding of the difference between an Article

  III Judge and a Magistrate Judge. Defendant stated in open court that she voluntarily waived her

  right to have an Article III Judge hear her plea and voluntarily consented to the undersigned

  Magistrate Judge hearing her plea, and tendered to the Court a written Waiver of Article III Judge

  and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and consent was signed

  by Defendant and countersigned by Defendant’s counsel and was concurred in by the signature of

  the Assistant United States Attorney appearing.

         Upon consideration of the sworn testimony of Defendant, as well as the representations of

  her counsel and the representations of the Government, the Court finds that the oral and written

  waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

  voluntarily given and the written waiver and consent was freely and voluntarily executed by

  Defendant, Keyara Peters, only after having had her rights fully explained to her and having a full

  understanding of those rights through consultation with her counsel, as well as through questioning

  by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before

  a Magistrate Judge filed and made part of the record.

         The undersigned then reviewed with Defendant Count Eleven of the Indictment and the

  elements the Government would have to prove, charging her with aiding and abetting the distribution

  of oxycodone, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2. The

  undersigned then reviewed with Defendant the statutory penalties applicable to an individual

  adjudicated guilty of the felony charges contained in Count Eleven of the Indictment, the impact of


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  the sentencing guidelines on sentencing in general, and inquired of Defendant as to her competency

  to proceed with the plea hearing. From said review the undersigned Magistrate Judge determined

  Defendant understood the nature of the charge pending against her and understood the possible

  statutory maximum sentence which could be imposed upon her conviction or adjudication of guilty

  on that charge was imprisonment for a term of not more than twenty (20) years; understood that a fine

  of not more than $1,000,000.00 could be imposed; understood that both fine and imprisonment could

  be imposed; understood she would be subject to a period of at least three (3) years supervised release;

  and understood the Court would impose a special mandatory assessment of $100.00 for the felony

  conviction payable on or before the date of sentencing. She also understood that her sentence could

  be increased if she had a prior firearm offense, violent felony conviction, or prior drug conviction.

  She also understood she might be required by the Court to pay the costs of her incarceration and

  supervised release.

          The undersigned also reviewed with Defendant her waiver of appellate and collateral attack

  rights. Defendant understood that if the District Judge imposed an actual sentence with a base

  offense level of twenty-four (24) or lower, she was waiving her right to appeal her conviction and

  sentence to the Fourth Circuit Court of Appeals on any ground whatsoever, including those grounds

  set forth in 18 U.S.C. § 3742. Defendant further understood that under her plea agreement, she was

  waiving her right to challenge her conviction and sentence in any post-conviction proceeding,

  including any proceeding under 28 U.S.C. § 2255. Defendant understood, however, that she was

  reserving the right to raise claims of ineffective assistance of counsel or prosecutorial misconduct that

  she learned about after the plea hearing, and agreed that she was unaware of any ineffective

  assistance of counsel or prosecutorial misconduct in her case at this time. From the foregoing, the




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  undersigned determined that Defendant understood her appellate and collateral attack rights and

  knowingly gave up those rights pursuant to the conditions contained in the written plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to her knowledgeable

  and voluntary execution of the written plea bargain agreement, and determined the entry into said

  written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

  undersigned then inquired of Defendant regarding her understanding of the written plea agreement.

  Defendant stated she understood the terms of the written plea agreement and also stated that it

  contained the whole of her agreement with the Government and promises or representations were

  made to her by the Government or other persons, including her own attorney, other than those terms

  contained in the written plea agreement.

         The undersigned Magistrate Judge further inquired of Defendant, her counsel, and the

  Government as to the non-binding recommendations and stipulation contained in the written plea

  bargain agreement and determined that Defendant understood, with respect to the plea bargain

  agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Eleven

  of the Indictment, the undersigned Magistrate Judge would write the subject Report and

  Recommendation and would further order a pre-sentence investigation report be prepared by the

  probation officer attending the District Court. The undersigned advised the Defendant that the District

  Judge would adjudicate the Defendant guilty of the felony charged under Count Eleven of the

  Indictment. Only after the District Court had an opportunity to review the pre-sentence investigation

  report, would the District Court make a determination as to whether to accept or reject any

  recommendation or stipulation contained within the plea agreement or pre-sentence report. The

  undersigned reiterated to the Defendant that the District Judge may not agree with the

  recommendations or stipulation contained in the written agreement. The undersigned Magistrate

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  Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

  event the District Court Judge refused to follow the non-binding recommendations or stipulation

  contained in the written plea agreement and/or sentenced her to a sentence which was different from

  that which she expected, she would not be permitted to withdraw her guilty plea. Defendant

  acknowledged her understanding and Defendant maintained her desire to have her plea of guilty

  accepted.

         Defendant also understood that her actual sentence could not be calculated until after a pre-

  sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

  and Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory,

  and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a

  higher sentence than she expected within the statutory maximum, she would not have a right to

  withdraw her guilty plea. Defendant further stated her attorney showed her how the advisory

  guideline chart worked but did not promise her any specific sentence at the time of sentencing.

  Defendant stated that she understood her attorney could not predict or promise her what actual

  sentence she would receive from the sentencing judge at the sentencing hearing. Defendant further

  understood there was no parole in the federal system, although she may be able to earn institutional

  good time, and that good time was not controlled by the Court, but by the Federal Bureau of Prisons.

         The Court heard testimony from Sergeant John Rogers of the West Virginia State Police. On

  October 10, 2013, a confidential informant (“CI”) arranged a purchase of oxycodone from Defendant

  and co-defendant Erik Jones. Sergeant Rogers and another agent met with the CI beforehand. Jones

  had told the CI to meet at an apartment complex formerly known as The District, in Monongalia

  County, West Virginia, within the Northern District of West Virginia. Sergeant Rogers and other

  units followed to conduct surveillance. Once the CI arrived there, the CI entered a vehicle with Jones

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  and Defendant. They left the complex and drove down the road a short way. Defendant was

  overheard talking on the phone. When the vehicle stopped, Defendant got out and was observed

  meeting with an individual. Defendant then got back into the vehicle, and the CI purchased ten (10)

  oxycodone pills for $320.00. Subsequently, the CI turned over the pills to Sergeant Rogers. The pills

  were sent away to the State Police crime lab, where they were determined to contain oxycodone.

         Defendant stated she heard, understood, and did not disagree with Sergeant Rogers’

  testimony. The undersigned United States Magistrate Judge concludes the offense charged in Count

  Eleven of the Indictment is supported by an independent basis in fact concerning each of the essential

  elements of such offense. That independent basis is provided by Sergeant Rogers’ testimony.

         Defendant, Keyara Peters, in the presence of her counsel, Charles Berry, proceeded to enter

  a verbal plea of GUILTY to the felony charge in Count Eleven of the Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge finds that Defendant

  is fully competent and capable of entering an informed plea; Defendant is aware of and understood

  her right to have an Article III Judge hear and accept her plea and elected to voluntarily consent to

  the undersigned United States Magistrate Judge hearing and accepting her plea; Defendant

  understood the charges against her, not only as to the Indictment as a whole, but in particular as to

  Count Eleven of the Indictment; Defendant understood the consequences of her plea of guilty, in

  particular the maximum statutory penalty to which she would be exposed; Defendant made a

  knowing and voluntary plea of guilty to Count Eleven of the Indictment; and Defendant’s plea is

  independently supported by Sergeant Rogers’ testimony, which provides, beyond a reasonable doubt,

  proof of each of the essential elements of the charge to which Defendant has pled guilty.




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         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

  Eleven of the Indictment herein be accepted conditioned upon the Court’s receipt and review of this

  Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

  adult probation officer assigned to this case.

         Defendant is released pursuant to the Order Setting Conditions of Release previously entered.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

  Recommendation, file with the Clerk of the Court written objections identifying the portions of the

  Report and Recommendation to which objection is made, and the basis for such objection. A copy

  of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

  Judge. Failure to timely file objections to the Report and Recommendation set forth above will result

  in waiver of the right to appeal from a judgment of this Court based upon such report and

  recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

  cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

  474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

  counsel of record.

         Respectfully submitted this 16th day of April, 2015.

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                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE




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